47 F.3d 1165
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Ethel Mae Lassiter SCATES, Plaintiff--Appellant,v.Michael MEGINTY, Commonwealth Attorney;  Patrick Kelly,Commonwealth Attorney, Defendants--Appellees.
    No. 94-6973.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 19, 1995.Decided Feb. 14, 1995.
    
      Ethel Mae Lassiter Scates, Appellant Pro Se.
      Before WILKINS and MICHAEL, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Scates v. Meginty, No. CA-94-889-AM (E.D. Va.  July 6, 1994;  Aug. 25, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the mate rials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    